      EXHIBIT M
       Case 1:21-cv-00149-JRH-BKE Document 28-14 Filed 07/12/22 Page 1 of 1




March 9, 2020

J. Wickliffe Cauthorn
1984 Howell Mill Road
Box 20059
Atlanta, GA 30325

Re:      Open Records Request

I am in receipt of your February 26, 2020 request for documents under the Georgia Open
Records Request Act, O.C.G.A. § 50-18-70 et seq., that was mailed to the Internal Affairs
Division of the Richmond County Sheriff’s Office Augusta, Georgia and received by me on
March 3, 2020. It is my understanding that the records you have requested are as follows:

      1. A list of all approved off-duty private security approved for any “25 Gents” events in
         2019.
      2. A list of all approve off-duty private security requests made by Deputy Charlie Walker
         during his period of employment with your office.
                          If this is not the requested information, please let me know.

In response to item #1, there were no requests submitted to the Richmond County Sheriff’s
Office for any “25 Gents” events in 2019.

Deputy Charlie Walker was approved for the following special duty assignments in 2019:

01/26/2019 – Aquinas High School - 1920 Highland Ave, Augusta, GA 30904 (School dance)
10/05/2019 – Legends Club - #22 Ste. B, 2701 Washington Rd, Augusta, GA 30909
              (Wedding reception)
11/23/2019 – Gracewood Community Center - 2309 Tobacco Rd, Augusta, GA 30906
              (Family reunion)

Please contact me directly if you have any questions.

Respectfully,

Kimberly Lee
Sgt. Kimberly Lee
Internal Affairs/ Public Information Office
706-821-1442 (desk) /706-821-1462(fax)
klee@augustaga.gov
